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                        U N I T E D S T AT E S D I S T R I C T C O U R T
                    F O R T H E D I S T R I C T O F N E W H AM P S H I R E


E m ily F i t zm o r r is , e t a l.

        v.                                                       Ca se No. 21-cv-25-P B
                                                                 Opin ion No. 2023 DNH 025
New H a m p sh ir e Dep a r t m en t of
H e a lt h a n d H u m a n S e r v i c e s
C o m m is s io n e r L o r i We a v e r 1 , e t a l.


                              ME MO R AN D U M AN D O R D E R

        P la in t iffs in t h is pu t a t ive cla ss a ct ion a r e disa bled in dividu a ls wh o a r e

en r olled in New H a m psh ir e’s Ch oices for In depen den ce (“CF I”) wa iver

pr ogr a m , a Medica id pr ogr a m a dm in ist er ed by t h e New H a m psh ir e

Depa r t m en t of H ea lt h a n d H u m a n Ser vices (“DH H S”). Th e CF I Wa iver

pr ogr a m pr ovides h om e a n d com m u n it y-ba sed ca r e ser vices t o a du lt s wh o

ot h er wise wou ld be Medica id-eligible for n u r sin g h om e ca r e. P la in t iffs a llege

t h a t DH H S a n d it s Com m ission er h a ve fa iled t o r em edy defect s in t h e

a dm in ist r a t ion of t h e pr ogr a m , lea din g t o sign ifica n t ga ps in pla in t iffs’

ser vices. P la in t iffs filed a com pla in t on beh a lf of t h em selves a n d a pu t a t ive

cla ss of sim ila r ly sit u a t ed in dividu a ls a llegin g, a m on g ot h er t h in gs, t h a t

DH H S viola t es t h e Medica id Act a n d t h e F ou r t een t h Am en dm en t ’s Du e


1      Th e in it ia l com pla in t wa s filed a ga in st t h en -Com m ission er Lor i
Sh ibin et t e, wh o h a s sin ce been su cceeded by Act in g Com m ission er Lor i
Wea ver . Th e ca se ca pt ion h a s been u pda t ed a ccor din gly.
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P r ocess Cla u se by fa ilin g t o pr ovide pla in t iffs wit h n ot ice a n d a n oppor t u n it y

for a h ea r in g wh en t h ey do n ot r eceive a ll t h e ser vices t h ey h a ve been

a u t h or ized t o r eceive. Defen da n t s n ow m ove for pa r t ia l su m m a r y ju dgm en t ,

a r gu in g t h a t n eit h er t h e Medica id Act n or t h e Du e P r ocess Cla u se r equ ir e

su ch pr ocedu r a l pr ot ect ion s. I a gr ee, a n d t h er efor e gr a n t defen da n t s’ m ot ion

for pa r t ia l su m m a r y ju dgm en t .

                                    I.       B AC KG R O U N D

        Th e CF I wa iver pr ogr a m ser ves Medica id-eligible a du lt s wh o clin ica lly

qu a lify for n u r sin g h om e ser vices, bu t “pr efer t o be ca r ed for a t h om e or in

ot h er set t in gs less a cu t e t h a n a n u r sin g fa cilit y.” N.H . Rev. St a t . An n . §§ 151-

E :1; 151-E :3. Wh en DH H S det er m in es t h a t a n in dividu a l is eligible for t h e

pr ogr a m , t h e in dividu a l is pa ir ed wit h a ca se m a n a gem en t a gen cy. N.H . Code

Adm in . R. H e-E 805.07. Th e ca se m a n a gem en t a gen cy wor ks wit h t h e

in dividu a l t o obt a in DH H S a u t h or iza t ion for a n y h om e or com m u n it y-ba sed

ca r e ser vices t h a t t h e in dividu a l n eeds t o sa fely r eside in t h e com m u n it y a n d

a void in st it u t ion a liza t ion . See id. H e-E 801.05. On ce ser vices a r e a u t h or ized,

t h ey m a y be cover ed by t h e st a t e. See id. H e-E 801.12. Th e ca se m a n a gem en t

a gen cy is t a sk ed wit h coor din a t in g a n in dividu a l’s wa iver ser vices, wh ich a r e

deliver ed by pr iva t e ser vice pr ovider s. See id. H e-E 805.05. Non et h eless, t h e

pr oper a dm in ist r a t ion of t h e CF I pr ogr a m a n d t h e pr ovision of wa iver




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ser vices r em a in s t h e u lt im a t e r espon sibilit y of DH H S. See P r ice v.

Sh ibin et t e, 2021 DNH 179, 2021 WL 5397864, a t *12 (D.N .H . Nov. 18, 2021).

        P la in t iffs a r e CF I wa iver pa r t icipa n t s wh o h a ve been a u t h or ized t o

r eceive a n a r r a y of ser vices, in clu din g per son a l ca r e a n d skilled n u r sin g

ser vices. See Doc. 80-4 a t 3-4; Doc. 80-5 a t 3-5. P la in t iffs com pla in t h a t t h ey

“su ffer pr ot r a ct ed dela ys in t h e on set of a ll or pa r t of t h eir wa iver ser vices,

fr equ en t in t er r u pt ion s in t h eir wa iver ser vices, a n d/or t h e expect ed cessa t ion

of t h eir wa iver ser vices,” a llegedly du e t o t h e st a t e’s m a la dm in ist r a t ion of t h e

CF I wa iver pr ogr a m . Doc. 1 a t 8-9. Th ey a sser t t h a t t h ese so-ca lled “ser vice

ga ps” a r e a dir ect r esu lt of DH H S’s fa ilu r e t o (1) a t t r a ct or r ecr u it en ou gh

ser vice pr ovider s for cer t a in wa iver ser vices, (2) a dequ a t ely m on it or wh et h er

CF I pa r t icipa n t s a r e r eceivin g t h eir a u t h or ized wa iver ser vices, a n d (3) t a ke

a ppr opr ia t e a ct ion wh en n ot ified of ser vice ga ps. See id. a t 9-13. It is

u n dispu t ed t h a t DH H S does n ot pr ovide eit h er n ot ice or a n a u t om a t ic r igh t

t o a h ea r in g wh en CF I wa iver pa r t icipa n t s exper ien ce ser vice ga ps. See Doc.

112-2 a t 8-10; Doc. 112-3 a t 8.

        Alt h ou gh pla in t iffs h a ve a sser t ed m u lt iple cla im s, defen da n t s seek

su m m a r y ju dgm en t on ly a s t o Cou n t s VI a n d VII, wh ich a llege t h a t

defen da n t s’ fa ilu r e t o pr ovide n ot ice a n d a n oppor t u n it y for a h ea r in g wh er e

“ser vice ga ps a n d/or dela ys con st it u t e a n effect ive r edu ct ion , den ia l, or




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t er m in a t ion of ser vices” viola t es bot h t h e Medica id Act a n d t h e Du e P r ocess

Cla u se. See Doc. 112-1 a t 6; see a lso Doc. 101-1 a t 2.

                               II.    S T AN D AR D O F R E VI E W

        Su m m a r y ju dgm en t is a ppr opr ia t e wh en t h e r ecor d r evea ls “n o gen u in e

dispu t e a s t o a n y m a t er ia l fa ct a n d t h e m ova n t is en t it led t o ju dgm en t a s a

m a t t er of la w.” F ed. R. Civ. P . 56(a ); Ta n g v. Cit izen s Ba n k, N.A., 821 F .3d

206, 215 (1st Cir . 2016). In t h is con t ext , a “m a t er ia l fa ct ” is on e t h a t h a s t h e

“pot en t ia l t o a ffect t h e ou t com e of t h e su it .” Ch er ka ou i v. Cit y of Qu in cy, 877

F .3d 14, 23 (1st Cir . 2017) (qu ot in g Sa n ch ez v. Alva r a do, 101 F .3d 223, 227

(1st Cir . 1996)). A “gen u in e dispu t e” exist s if a fa ct fin der cou ld r esolve t h e

dispu t ed fa ct in t h e n on m ova n t ’s fa vor . E llis v. F id. Mgm t . Tr . Co., 883 F .3d

1, 7 (1st Cir . 2018).

        Th e m ova n t bea r s t h e in it ia l bu r den of pr esen t in g eviden ce t h a t “it

believes dem on st r a t e t h e a bsen ce of a gen u in e issu e of m a t er ia l fa ct .” Celot ex

Cor p. v. Ca t r et t , 477 U.S. 317, 323 (1986); a ccor d Ir obe v. U .S. Dep’t of Agr ic.,

890 F .3d 371, 377 (1st Cir . 2018). On ce t h e m ova n t h a s pr oper ly pr esen t ed

su ch eviden ce, t h e bu r den sh ift s t o t h e n on m ova n t t o design a t e “specific fa ct s

sh owin g t h a t t h er e is a gen u in e issu e for t r ia l,” Celot ex, 477 U.S. a t 324, a n d

t o “dem on st r a t e t h a t a t r ier of fa ct cou ld r ea son a bly r esolve t h a t issu e in

[t h eir ] fa vor .” Ir obe, 890 F .3d a t 377 (qu ot in g Bor ges ex r el. S.M.B.W. v.

Ser r a n o-Iser n , 605 F .3d 1, 5 (1st Cir . 2010)). If t h e n on m ova n t fa ils t o a ddu ce


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su ch eviden ce on wh ich a r ea son a ble fa ct fin der cou ld ba se a fa vor a ble ver dict ,

t h e m ot ion m u st be gr a n t ed. Celot ex, 477 U.S. a t 324. In con sider in g t h e

eviden ce, t h e cou r t m u st dr a w a ll r ea son a ble in fer en ces in t h e n on m ovin g

pa r t y’s fa vor . Th er ia u lt v. Gen esis H ea lt h Ca r e LLC, 890 F .3d 342, 348 (1st

Cir . 2018).

                                       III.    AN AL YS I S

       P la in t iffs ba se t h eir n ot ice a n d h ea r in g cla im s on bot h t h e Medica id Act

(Cou n t VII) a n d t h e Du e P r ocess Cla u se (Cou n t VI). Defen da n t s seek

su m m a r y ju dgm en t on bot h cou n t s. I begin wit h t h e Medica id Act cla im .

A.     Me d ic a i d Ac t

       As a st a t e Medica id pla n a u t h or ized pu r su a n t t o 42 U.S.C. § 1396n , t h e

CF I wa iver pr ogr a m m u st com ply wit h cer t a in feder a lly-im posed con dit ion s.

See Br yson v. Sh u m wa y, 308 F .3d 79, 83-84 (1st Cir . 2002). On e su ch

con dit ion is t h a t a st a t e pla n m u st “pr ovide for gr a n t in g a n oppor t u n it y for a

fa ir h ea r in g befor e t h e St a t e a gen cy t o a n y in dividu a l wh ose cla im for

m edica l a ssist a n ce u n der t h e pla n is den ied or is n ot a ct ed u pon wit h

r ea son a ble pr om pt n ess.” 42 U.S.C. § 1396a (a )(3).

       Th e r egu la t ion s t h a t im plem en t t h is con dit ion (“F a ir H ea r in g

Regu la t ion s”) specify t h a t a st a t e a gen cy m u st h old a h ea r in g u pon a r equ est

fr om a n a pplica n t or ben eficia r y wh o “believes t h e a gen cy h a s t a ken a n a ct ion

er r on eou sly, den ied h is or h er cla im for eligibilit y or for cover ed ben efit s or


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ser vices, or issu ed a det er m in a t ion of a n in dividu a l’s lia bilit y, or h a s n ot

a ct ed u pon t h e cla im wit h r ea son a ble pr om pt n ess[.]” 42 C.F .R.

§ 431.220(a )(1). Th e r egu la t ion s a lso r equ ir e a st a t e a gen cy t o n ot ify a n

in dividu a l of t h eir r igh t t o a h ea r in g “[a ]t t h e t im e t h e a gen cy den ies a n

in dividu a l’s cla im for eligibilit y, ben efit s or ser vice . . . or t a k es ot h er a ct ion ,

a s defin ed a t § 431.201, or wh en ever a h ea r in g is ot h er wise r equ ir ed in

a ccor da n ce wit h § 431.220(a ).” 42 C.F .R. § 431.206(c)(2). An “a ct ion ” in clu des

“a t er m in a t ion , su spen sion of, or r edu ct ion in cover ed ben efit s or ser vices[.]”

42 C.F .R. § 431.201. Wh en a st a t e a gen cy is r equ ir ed t o pr ovide n ot ice u n der

§ 431.206(c), t h e n ot ice m u st in for m a n a pplica n t (1) of t h eir r igh t t o a

h ea r in g, (2) of t h e m et h od by wh ich t h e a pplica n t m a y obt a in a h ea r in g,

(3) t h a t t h e a pplica n t m a y be self-r epr esen t ed or r epr esen t ed by cou n sel, a

r ela t ive, or a n ot h er spokesper son , a n d (4) t h e t im e fr a m es by wh ich t h e

a gen cy m u st t a ke fin a l a dm in ist r a t ive a ct ion . 42 C.F .R. § 431.206(b). Am on g

ot h er t h in gs, t h e n ot ice m u st a lso in clu de “[a ] st a t em en t of wh a t a ct ion t h e

a gen cy . . . in t en ds t o t a ke a n d t h e effect ive da t e of su ch a ct ion .” 42 C.F .R.

§ 431.210(a ).

        P la in t iffs pr esen t t wo a r gu m en t s t o su ppor t t h eir con t en t ion t h a t t h e

F a ir H ea r in g Regu la t ion s give t h em a r igh t t o n ot ice a n d a h ea r in g on t h eir

ser vice ga p cla im s. F ir st , t h ey a r gu e t h a t t h eir r igh t t o n ot ice a n d a h ea r in g

h a s been t r igger ed beca u se t h ey m a de “cla im s” for ser vices t h a t defen da n t s


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effect ively “den ied” wh en t h ey fa iled t o close t h eir ser vice ga ps. In t h e

a lt er n a t ive, pla in t iffs a r gu e t h a t t h ey a r e en t it led t o n ot ice a n d a h ea r in g

beca u se defen da n t s effect ively t ook a n “a ct ion ” t o t er m in a t e, su spen d, or

r edu ce t h eir cover ed ser vices wh en t h ey fa iled t o close t h e ser vice ga ps. I

exa m in e ea ch a r gu m en t in t u r n .

        1.       Den ia l of a Cla im for Ser vices

        P la in t iffs pr im a r ily r ely on ca se la w t o su ppor t t h eir posit ion t h a t a

st a t e a gen cy “den ies” a “cla im ” for ser vices wh en ever it fa ils t o deliver

ser vices t h a t t h e a gen cy h a s a u t h or ized a n in dividu a l t o r eceive. I ca n n ot

a ccept pla in t iffs’ a r gu m en t , h owever , beca u se it is ba sed on a m isr ea din g of

t h e F a ir H ea r in g Regu la t ion s.

        Beca u se t h e r egu la t ion s do n ot defin e t h e t er m s “cla im ” or “den ies”/

“den ied,” I con st r u e t h em in a ccor da n ce wit h t h eir “pla in a n d or din a r y

m ea n in g.” Un it ed St a t es v. La ch m a n , 387 F .3d 42, 50-51 (1st Cir . 2004)

(clea n ed u p). A “cla im ” is com m on ly u n der st ood t o m ea n “a dem a n d for

som et h in g du e or believed t o be du e.” See Cla im , Mer r ia m -Webst er

Dict ion a r y On lin e, h t t ps://www.m er r ia m -webst er .com /dict ion a r y/cla im (la st

visit ed Ma r ch 27, 2023). Th is is h ow t h e t er m “cla im ” is u sed t h r ou gh ou t bot h

42 U.S.C. § 1396a a n d t h e Medica id Act , see, e.g., 42 U.S.C. § 1396r -8, a n d it

is t h e wa y a “cla im ” is defin ed elsewh er e in Ch a pt er 7 of Tit le 42, see 42

U.S.C. § 1320a -7a (i)(2) (defin in g “cla im ” a s “a n a pplica t ion for pa ym en t s for


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it em s a n d ser vices u n der a F eder a l h ea lt h ca r e pr ogr a m ”). Th e t er m s “den ies”

a n d “den ied” a r e for m s of t h e ver b “den y,” wh ich in t h is con t ext is com m on ly

u n der st ood t o m ea n “t o r efu se t o gr a n t .” See Den y, Mer r ia m -Webst er

Dict ion a r y On lin e, h t t ps://www.m er r ia m -webst er .com /dict ion a r y/den y (la st

visit ed Ma r ch 27, 2023). P la in t iffs do n ot pr ovide m e wit h a n y r ea son t o

devia t e fr om t h ese com m on ly u n der st ood m ea n in gs. Th u s, I a pply t h em in

con st r u in g §§ 431.206(c)(2) a n d 431.220.

        In t h e pr esen t ca se, t h e on ly “cla im s” pla in t iffs m a de for CF I wa iver

ser vices a r e t h eir in it ia l a pplica t ion s for ser vices, wh ich defen da n t s a ppr oved.

P la in t iffs do n ot a r gu e t h a t defen da n t s ever r evoked t h eir a ppr ova ls. In st ea d,

t h ey con t en d t h a t defen da n t s la t er effect ively “den ied” t h eir cla im s wh en

t h ey fa iled t o close pla in t iffs’ ser vice ga ps. Th u s, pla in t iffs’ a r gu m en t

a m ou n t s t o a con t en t ion t h a t a st a t e a gen cy “den ies” a cla im for ser vices

wh en ever it fa ils t o pr ovide pr eviou sly a u t h or ized ser vices. P la in t iffs’

a r gu m en t ca n n ot st a n d beca u se it a ssign s a m ea n in g t o t h e t er m s “den ies”

a n d “den ied” t h a t is con t r a r y t o t h e wa y in wh ich t h ese t er m s a r e u sed in

§§ 431.206(c) a n d 431.220.

        P la in t iffs’ in t er pr et a t ion is a lso in con sist en t wit h t h e st a t u t or y con t ext

in wh ich t h e t er m “den ied” is u sed. Sect ion 1396a pr ovides t h a t a n

oppor t u n it y for a h ea r in g m a y be r equ ir ed wh er e a “cla im for m edica l

a ssist a n ce . . . is den ied or is n ot a ct ed u pon wit h r ea son a ble pr om pt n ess.”


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42 U.S.C. § 1396a (a )(3) (em ph a sis a dded). If a fa ilu r e t o a ct ca n con st it u t e a

den ia l of a cla im , a s pla in t iffs posit , t h er e wou ld be n o r ea son for t h e st a t u t e

t o dr a w a dist in ct ion bet ween t h e t wo con cept s. Th a t dist in ct ion , h owever , is

m ea n in gfu lly im plem en t ed in t h e F a ir H ea r in g Regu la t ion s. Wh en a st a t e

a gen cy fa ils t o a ct wit h r ea son a ble pr om pt n ess, t h e r egu la t ion s pr ovide t h a t

t h e r igh t t o n ot ice a n d a h ea r in g is t r igger ed u pon r equ est fr om t h e a pplica n t

or ben eficia r y. See 42 C.F .R. § 431.220(a )(1); 42 C.F .R. § 431.206(c)(2). By

con t r a st , t h e r igh t t o n ot ice a n d a h ea r in g st em m in g fr om a den ia l is

t r igger ed by som e a ffir m a t ive a ct on t h e pa r t of t h e a gen cy. See 42 C.F .R.

§ 431.206(c)(2). Com m on sen se su ggest s t h e r a t ion a le for t h is differ en ce: t h e

st a t e a gen cy m u st be a wa r e t h a t it s obliga t ion t o pr ovide n ot ice a n d a

h ea r in g h a s a r isen . Th e a gen cy ga in s t h a t a wa r en ess eit h er wh en it a ct s

a ffir m a t ively or wh en t h e a pplica n t a ler t s it t o it s fa ilu r e t o a ct . Th u s, a

con t ext u a l r ea din g of t h e st a t u t e a n d it s im plem en t in g r egu la t ion s sh ows

t h a t a “den ia l” of a “cla im ” en t a ils m or e t h a n m er e in a ct ion , su ch a s t h e st a t e

a gen cy’s fa ilu r e t o close ser vice ga ps.

        Ra t h er t h a n focu sin g on t h e t ext of t h e st a t u t e or t h e F a ir H ea r in g

Regu la t ion s, pla in t iffs r ely on Mu r ph y ex r el. Mu r ph y v. H a r pst ea d, 421 F .

Su pp. 3d 695 (D. Min n . 2019), for t h e pr oposit ion t h a t a st a t e a gen cy m u st

pr ovide n ot ice wh en ever it fa ils t o pr ovide ser vices t h a t t h e cla im a n t h a s

been a u t h or ized t o r eceive. In Mu r ph y, pla in t iffs h a d been a u t h or ized t o


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r eceive cer t a in ser vices u n der a wa iver pr ogr a m , bu t t h e st a t e a gen cy fa iled

t o a ppr ove t h eir in for m a l r equ est s for a ddit ion a l ser vices. See id. a t 707-08;

see a lso Mu r ph y ex r el. Mu r ph y v. Min n . Dep’t of H u m . Ser vs., 260 F . Su pp.

3d 1084, 1108 (D. Min n . 2017). In h oldin g t h a t t h e st a t e a gen cy wa s r equ ir ed

t o pr ovide pla in t iffs wit h n ot ice of t h eir r igh t t o a h ea r in g, t h e cou r t

det er m in ed bot h t h a t a n in for m a l r equ est for a ddit ion a l ser vices ca n qu a lify

a s a “cla im ” a n d t h a t a n a gen cy’s fa ilu r e t o a ppr ove a ll t h e ser vices r equ est ed

ca n con st it u t e a “den ia l” of t h e cla im . See Mu r ph y, 421 F . Su pp. 3d a t 708.

Th e cou r t did n ot , h owever , con clu de t h a t a st a t e a gen cy’s m er e fa ilu r e t o

deliver a u t h or ized ser vices ca n be t r ea t ed a s a den ia l. Beca u se t h e pr esen t

ca se in volves a fa ilu r e by defen da n t s t o deliver a u t h or ized ser vices r a t h er

t h a n a r efu sa l by defen da n t s t o gr a n t a r equ est for ser vices, Mu r ph y is

sim ply n ot a r eleva n t pr eceden t .

        2.      Ter m in a t ion , Su spen sion , or Redu ct ion of Ser vices

        P la in t iffs’ a lt er n a t ive a r gu m en t t h a t t h ey a r e en t it led t o n ot ice a n d a

h ea r in g beca u se defen da n t s’ fa ilu r e t o close t h eir ser vice ga ps is a n “a ct ion ”

u n der §§ 431.206(c) a n d 431.220(a ) a lso fa ils t o per su a de. Sect ion 431.201

defin es a n “a ct ion ” in per t in en t pa r t a s a “t er m in a t ion , su spen sion of, or

r edu ct ion in cover ed ben efit s or ser vices[.]” 42 C.F .R. § 431.201. A

“t er m in a t ion ,” in t u r n , is com m on ly u n der st ood a s “t h e a ct of t er m in a t in g,”

Ter m in a t ion , Mer r ia m -Webst er Dict ion a r y On lin e, h t t ps://www.m er r ia m -


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webst er .com /dict ion a r y/t er m in a t ion (la st visit ed Ma r ch 27, 2023); a

“su spen sion ” is “t h e a ct of su spen din g,” Su spen sion , Mer r ia m -Webst er

Dict ion a r y On lin e, h t t ps://www.m er r ia m -webst er .com /dict ion a r y/su spen sion

(la st visit ed Ma r ch 27, 2023); a n d a “r edu ct ion ” is “t h e a ct or pr ocess of

r edu cin g,” Redu ct ion , Mer r ia m -Webst er Dict ion a r y On lin e,

h t t ps://www.m er r ia m -webst er .com /dict ion a r y/r edu ct ion (la st visit ed Ma r ch

27, 2023). Th e com m on ch a r a ct er ist ic in a ll t h r ee defin it ion s is t h a t a st a t e

a gen cy m u st u n der t a ke a n a ct ion t h a t t er m in a t es, su spen ds, or r edu ces a

cover ed ben efit or ser vice. Cf. N.B. ex r el. P ea cock v. Dist r ict of Colu m bia ,

794 F .3d 31, 40 (D.C. Cir . 2015) (r elyin g on sim ila r dict ion a r y defin it ion s a n d

expla in in g t h a t a ll t h r ee t er m s “in volve a ch a n ge in , n ot m er e m a in t en a n ce

of, exist in g con dit ion s”). H er e, t h e r equ ir em en t of a n a ct ion is n ot sa t isfied by

defen da n t s’ a lleged fa ilu r e t o close pla in t iffs’ ser vice ga ps.

        Th e n ot ice pr ocedu r es a st a t e a gen cy m u st follow wh en it t a kes a n

“a ct ion ” fu r t h er u n der cu t s pla in t iffs’ a r gu m en t t h a t a fa ilu r e t o close ser vice

ga ps ca n be a n “a ct ion ” t h a t t r igger s a r igh t t o n ot ice a n d a h ea r in g. E xcept

in a lim it ed su bset of cir cu m st a n ces t h a t do n ot a pply h er e, a st a t e a gen cy

m u st sen d t h e n ot ice r equ ir ed by § 431.206(c) “a t lea st 10 da ys befor e t h e

da t e of t h e a ct ion .” 42 C.F .R. § 431.211. Th e r egu la t ion s a lso pr ovide t h a t t h e

h ea r in g n ot ice m u st in clu de a st a t em en t of t h e a ct ion t h a t t h e a gen cy

“in t en ds t o t a ke a n d t h e effect ive da t e of su ch a ct ion .” 42 C.F .R. § 431.210(a )


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(em ph a sis a dded). It is difficu lt t o con ceive of a wa y in wh ich a st a t e a gen cy

cou ld com ply wit h t h ese r equ ir em en t s if a fa ilu r e t o close a ser vice ga p cou ld

be deem ed t o be a n “a ct ion ” r equ ir in g a h ea r in g n ot ice.

        P la in t iffs cit e t o t wo dist r ict cou r t ca ses for t h e pr oposit ion t h a t a st a t e

a gen cy t a kes a n “a ct ion ” wit h in t h e m ea n in g of § 431.201 wh en it does

som et h in g t h a t h a s t h e pr a ct ica l effect of t er m in a t in g or r edu cin g a

ben eficia r y’s ser vices. See H a ym on s v. Willia m s, 795 F . Su pp. 1511, 1522

(M.D. F la . 1992) (h oldin g t h a t n ot ice wa s r equ ir ed wh er e t h e st a t e

disqu a lified cer t a in ser vice pr ovider s fr om pr ovidin g ser vices beca u se t h ey

ser ved in dividu a ls t h a t t h e st a t e la t er det er m in ed t o be in eligible); La dd v.

Th om a s, 962 F . Su pp. 284, 293 (D. Con n . 1997) (con clu din g t h a t n ot ice wa s

r equ ir ed wh er e t h e st a t e a ppr oved a r equ est for a u t h or iza t ion in a m odified

for m ). Th ose ca ses, h owever , in volved a ffir m a t ive a ct s by t h e r eleva n t st a t e

a gen cies. Th ey do n ot go so fa r a s t o h old t h a t a st a t e a gen cy t a kes a n

“a ct ion ” wh en ever it s fa ilu r e t o a ct h a s t h e pr a ct ica l effect of t er m in a t in g or

r edu cin g a ben eficia r y’s ser vices. In deed, t h e pa r t ies h a ve n ot cit ed t o, a n d I

h a ve n ot loca t ed, a n y ca ses t h a t t r ea t a fa ilu r e t o a ct a s a n a ct ion wit h in t h e

m ea n in g of § 431.201. 2 P la in t iffs’ posit ion is t h er efor e u n su ppor t ed by bot h



2     P la in t iffs a lso cit e t o Br yson v. Sh u m wa y, 177 F . Su pp. 2d 78 (D.N.H .
2001), va ca t ed by 308 F .3d 79 (1st Cir . 2002), a n d Ca ssidy v. Zu cker , 17-cv-
03397, 2021 WL 4472592 (E .D.N.Y. Sept . 30, 2021). Th ose ca ses, h owever , do


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t h e pla in la n gu a ge of t h e F a ir H ea r in g Regu la t ion s a n d t h e r eleva n t ca se

la w.

B.      D u e P r o c e s s C la u s e

        P la in t iffs n ext a r gu e t h a t t h e Du e P r ocess Cla u se r equ ir es n ot ice a n d

a n oppor t u n it y for a h ea r in g, even if t h e Medica id Act does n ot . P la in t iffs

a ppea r t o ba se t h eir cla im on Goldber g v. Kelly, wh ich h eld t h a t t h e Du e

P r ocess Cla u se r equ ir es n ot ice a n d a n eviden t ia r y h ea r in g befor e welfa r e

ben efit s m a y be t er m in a t ed. See 397 U .S. 254, 264 (1970); see a lso Doc. 1 a t

39; Doc. 112-1 a t 5. In pla in t iffs’ view, beca u se defen da n t s’ fa ilu r e t o pr ovide

a ll t h e ser vices t h ey h a ve been a u t h or ized t o r eceive con st it u t es a n effect ive

t er m in a t ion of t h ose ser vices, n ot ice a n d a n oppor t u n it y for a h ea r in g a r e

con st it u t ion a lly r equ ir ed.

        Goldber g, h owever , dea lt wit h a n officia l t er m in a t ion of ben efit s

t h r ou gh a gen cy a dju dica t ion , n ot t h e effect ive t er m in a t ion of ben efit s t h r ou gh

in a ct ion . See id. a t 257-58. Nor does it s r ea son in g ext en d t o ca ses wh er e a



n ot con sider t h e m ea n in g of a n “a ct ion ” a s defin ed in § 431.201. See Br yson ,
177 F . Su pp. 2d a t 98 (in t er pr et in g t h e m ea n in g of “den ied” in 42 U .S.C.
§ 1396a (a )(3)); Ca ssidy, 2021 WL 4472592, a t *6 (in t er pr et in g t h e t er m
“a dver se ben efit det er m in a t ion ” a s defin ed in 42 C.F .R. § 438.400). In a n y
even t , t h ose ca ses r equ ir ed n ot ice on ly in r espon se t o a n a ffir m a t ive a ct by
t h e st a t e, r a t h er t h a n a m er e fa ilu r e t o a ct . See Br yson , 177 F . Su pp. 2d a t 98
(pla cin g a pplica n t s for wa iver ser vices on a wa it in g list ); Ca ssidy, 2021 WL
4472592, a t *6 (t r a n sfer r in g ben eficia r ies t o a n ew m a n a ged lon g t er m ca r e
pr ovider ).


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cla im a n t is u n a ble t o obt a in a n a u t h or ized ben efit beca u se of defen da n t s’

in a ct ion . Key t o t h e Su pr em e Cou r t ’s r ea son in g in Goldber g wa s t h e weigh t y

in t er est in t h e “u n in t er r u pt ed pr ovision [of welfa r e] t o t h ose eligible t o

r eceive it ,” wh ich cou ld on ly be a ch ieved t h r ou gh a pr e-t er m in a t ion h ea r in g.

See id. a t 265. Yet t h a t in t er est is in a pplica ble wh er e, a s h er e, t h e cla im ed

n ot ice a n d h ea r in g r igh t s on ly m a t er ia lize a ft er a ben eficia r y h a s been u n a ble

t o obt a in ser vices t h a t defen da n t s h a ve a u t h or ized t h em t o r eceive. Mor eover ,

t h e sin gu la r pu r pose of t h e pr e-t er m in a t ion h ea r in gs in Goldber g wa s t o

exa m in e “t h e va lidit y of t h e welfa r e depa r t m en t ’s gr ou n ds for discon t in u a n ce

of pa ym en t s in or der t o pr ot ect a r ecipien t a ga in st a n er r on eou s t er m in a t ion

of h is ben efit s.” Id. a t 267. Th a t ca n n ot occu r wh er e, a s h er e, t h er e h a s been

n o decision by t h e st a t e a gen cy for a h ea r in g officer t o r eview. Accor din gly,

n eit h er t h e h oldin g n or t h e r ea son in g of Goldber g m a n da t es t h e pr ocedu r a l

pr ot ect ion s t h a t pla in t iffs seek.

        Of cou r se, Goldber g is n ot t h e on ly sou r ce of pr ocedu r a l du e pr ocess

r igh t s. Ra t h er , pr ocedu r a l du e pr ocess r equ ir em en t s va r y wit h cir cu m st a n ce

a n d m u st be det er m in ed by ca r efu lly ba la n cin g t h e in t er est s a t pla y. See

Ma t h ews v. E ldr idge, 424 U.S. 319, 334 (1976). Accor din gly, wh et h er

a ddit ion a l pr ocedu r a l pr ot ect ion s a r e con st it u t ion a lly r equ ir ed t u r n s on (1)

“t h e pr iva t e in t er est t h a t will be a ffect ed by t h e officia l a ct ion ,” (2) “t h e r isk

of er r on eou s depr iva t ion of su ch in t er est t h r ou gh t h e pr ocedu r es u sed, a n d


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t h e pr oba ble va lu e, if a n y, of a ddit ion a l or su bst it u t e pr ocedu r a l sa fegu a r ds,”

a n d (3) “t h e Gover n m en t ’s in t er est , in clu din g t h e fu n ct ion in volved a n d t h e

fisca l a n d a dm in ist r a t ive bu r den s t h a t t h e a ddit ion a l or su bst it u t e

pr ocedu r a l r equ ir em en t wou ld en t a il.” Id. a t 335. Alt h ou gh n ot specifica lly

br iefed by t h e pa r t ies, I con clu de t h a t n ot ice a n d a n oppor t u n it y for a h ea r in g

a r e n ot r equ ir ed by t h e ba la n cin g t est set ou t in Ma t h ews.

        H er e, t h er e is lit t le qu est ion t h a t pla in t iffs’ in t er est in r eceivin g t h e fu ll

a m ou n t of ser vices t h ey h a ve been det er m in ed t o n eed is of pa r a m ou n t

im por t a n ce. Bu t n ot ice a n d a n oppor t u n it y for a h ea r in g wou ld do lit t le t o

en su r e t h a t pla in t iffs a r e n ot er r on eou sly depr ived of t h ose ser vices. Beca u se

pla in t iffs kn ow wh en t h ey a r e m issin g ser vices, n ot ifyin g t h em of a s m u ch

wou ld be of lit t le va lu e. To t h e ext en t a h ea r in g cou ld be u sefu l in pr even t in g

fu t u r e ser vice ga ps, it is u n con t est ed t h a t ben eficia r ies m a y r equ est a n d

obt a in a h ea r in g if t h ey believe t h a t t h ey h a ve been “a dver sely a ffect ed” by a

“depa r t m en t decision or a ct ion ,” in clu din g a n effect ive den ia l of ser vices – a n

opt ion of wh ich ben eficia r ies a r e n ot ified. See, e.g., N.H . Adm in . R. H e-C

201.02(b) (defin in g “a ppea l”); Doc. 101-3 (sa m ple r igh t t o h ea r in g n ot ice). 3




3        Defen da n t s st a t e t h a t CF I pa r t icipa n t s r eceive su ch n ot ices a n n u a lly.
P la in t iffs do n ot con cede t h e poin t a n d in st ea d in sist t h a t t h ey r equ ir e
discover y on h ow u n ifor m ly a n d con sist en t ly su ch n ot ices a r e pr ovided.


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        F in a lly, t h e bu r den on t h e gover n m en t wou ld be sign ifica n t . E viden ce

offer ed by bot h pla in t iffs a n d defen da n t s in dica t es t h a t h u n dr eds of CF I

pa r t icipa n t s exper ien ce ser vice ga ps ea ch m on t h . See Doc. 80-8 a t 6; Doc. 96-

1 a t 8. P r ovidin g h ea r in g n ot ices wh en ever a pa r t icipa n t exper ien ces a

ser vice ga p wou ld im pose a su bst a n t ia l bu r den on defen da n t s t o det er m in e

wh en ser vice ga ps develop so t h a t t h ey ca n n ot ify pa r t icipa n t s of t h eir r igh t

t o a h ea r in g, wh ile a ddin g lit t le va lu e t o pla in t iffs. Th is bu r den is on ly

exa cer ba t ed by t h e difficu lt y in det er m in in g wh en ser vice ga ps con st it u t e a n

“effect ive r edu ct ion or t er m in a t ion of ser vices” su ch t h a t t h e r igh t t o n ot ice

a n d a h ea r in g wou ld be t r igger ed. 4 See Doc. 112-1 a t 6-7. Accor din gly,

con sider in g t h e m in im a l va lu e of pla in t iffs’ r equ est ed pr ocedu r es a n d t h e

sign ifica n t gover n m en t bu r den in pr ovidin g su ch pr ocedu r es, I con clu de t h a t

t h e Du e P r ocess Cla u se does n ot r equ ir e n ot ice or a n oppor t u n it y for a

h ea r in g wh en pla in t iffs exper ien ce ser vice ga ps.




4         P la in t iffs em ph a size t h a t t h ey a r e n ot r equ est in g n ot ice a n d h ea r in g
r igh t s wh en ever som e m in im a l a m ou n t of ser vices a r e n ot r eceived, bu t
r a t h er wh en t h e ser vice ga ps a r e so sign ifica n t t h a t t h ey “con st it u t [e] a n
effect ive r edu ct ion or t er m in a t ion of ser vices.” Doc. 112-1 a t 6-7. P la in t iffs do
n ot expla in , h owever , t h e poin t a t wh ich t h is occu r s.


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                                   I V.    CONCLUSION

       F or t h e for egoin g r ea son s, defen da n t s’ m ot ion for pa r t ia l su m m a r y

ju dgm en t (Doc. 101) is gr a n t ed.

       SO ORDE RE D.
                                                      /s/ P a u l J . Ba r ba dor o
                                                      P a u l J . Ba r ba dor o
                                                      Un it ed St a t es Dist r ict J u dge
Ma r ch 28, 2023
cc:    Cou n sel of r ecor d




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